
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Defendant on the 8th of January 2018 in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the State of NC, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 1st of March 2018."
Upon consideration of the petition filed on the 8th of January 2018 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
*874"Denied by order of the Court in conference, this the 1st of March 2018."
